Case 1:17-cv-00419-RGA Document 168 Filed 10/24/22 Page 1 of 1 PageID #: 1498




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 UNITED STATES et al. ex rel. Ronald
 Sherman

                       Plaintiffs-Relators,

               v.                                   Civil Action No. 17-419-RGA

 CHRISTIANA CARE HEALTH SERVICES,
 INC., et al.

                       Defendants.

                                     NOTICE OF SERVICE

       Pursuant to Local Civil Rule 5.4(b), Relator Ronald Sherman provides notice that he served

On Defendants Christiana Care Health Services, Inc., Christian Care Health System, Christiana

Hospital, and Wilmington Hospital by electronic service to counsel on October 24, 2022 the

following documents:

       •   Expert Report of Ian Dew and supporting materials

       •   Expert Report of Kathy McNamara and supporting materials

       •   Expert Report of Virginia Evans and supporting materials

       •   Expert Report of Carolyn Buppert and supporting materials

 Dated: October 24, 2022                        WALDEN, MACHT, & HARAN LLP

                                                /s/ Daniel R. Miller               .




                                                Daniel R. Miller (DE Id. #3169)
                                                2000 Market Street, Ste. 1430
                                                Philadelphia, PA 19102
                                                Telephone: (212) 335-2030
                                                dmiller@wmhlaw.net

                                                Attorney for Relator
